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                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


 TONIA   JACKSON              and     KENNETH
 JACKSON,
                                                           Case No. 4:19-cv-03279
             Plaintiffs,

 v.                                                       Honorable Judge Sim Lake

 CREDIT SYSTEMS INTERNATIONAL,
 INC. and BAYLOR ST. LUKE’S MEDICAL
 GROUP,

             Defendants.


      PLAINTIFFS’ MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT

        NOW comes TONIA JACKSON and KENNETH JACKSON (“Plaintiffs”), by and

through their attorneys, Sulaiman Law Group, Ltd. (“Sulaiman”), and pursuant to Fed. R. Civ. P.

15(a)(2), respectfully bringing this Motion for Leave to File First Amended Complaint, and in

support thereof, states as follows:

        1.     On August 30, 2019, Plaintiffs filed their Complaint seeking redress for alleged

violations of the Fair Debt Collection Practices Act (“FDCPA”) against CREDIT SYSTEMS

INTERNATIONAL, INC. (“CSI”) and Telephone Consumer Protection Act and Texas Debt

Collection Acts against BAYLOR ST. LUKE’S MEDICAL CENTER (“Baylor”). [Dkt #1].

        2.     Through their respective counsels, Plaintiffs and Baylor have exchanged several

documents and correspondence related to this matter.

        3.     Upon full consideration of the documents disclosed by Baylor, Plaintiffs realized

that one of the proper parties to the lawsuit is St. Luke’s Hospital at the Vintage.


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        4.      Plaintiffs request to amend their Complaint and remove St. Luke’s Medical Group

as a party in this matter.

        5.      Furthermore, Plaintiffs wish to add St. Luke’s Hospital at the Vintage as the new

co-defendant in this matter.

        6.      Pursuant to Fed. R. Civ. Pro. 15(a)(2), a court should freely give a party leave to

amend its pleading when justice requires. See Fed. R. Civ. P. 15(a)(2).

        7.      “Rule 15(a) declares that leave to amend ‘shall be freely given when justice so

requires’; this mandate is to be heeded. If the underlying facts or circumstances relied upon by a

plaintiff may be a proper subject of relief, he ought to be afforded an opportunity to test his claim

on the merits.’” Foman v. Davis, 371 U.S. 178, 182 (1962).

        8.      A District Court may deny a motion to amend where there is “undue delay, bad

faith or dilatory motive on the part of the movant, repeated failure to cure deficiencies by

amendments previously allowed, undue prejudice to the opposing party by virtue of allowance of

the amendment, futility of amended, etc.” Id.

        9.      Justice would be served if Plaintiffs are granted leave to amend their Complaint

        10.     Plaintiffs’ Motion for Leave to Amend is not brought for purposes of causing undue

delay, nor is it the result of bad faith or other dilatory motive. Plaintiffs’ Motion for Leave to

Amend is designed to address the purported deficiencies proffered by Baylor. This is Plaintiffs’

first request to amend their Complaint and Defendants will not suffer any prejudice as a result of

the amendment.

        WHEREFORE, Plaintiffs respectfully request this Honorable Court to enter an order

granting Plaintiffs leave to file their First Amended Complaint, dismiss Baylor St. Luke Medical



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Group as a defendant from this matter and add St. Luke’s Hospital at the Vintage as the new co-

defendant in this matter.

Dated January 15, 2020                                Respectfully submitted,

                                                      /s/ Nathan C. Volheim

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                                                      Counsel for Plaintiffs

                             CERTIFICATE OF CONFERENCE

        On January 13, 2020, Plaintiffs’ counsel sent an email to attorneys for both Defendants
asking if they consented to the relief sought in the foregoing motion. Counsel for Baylor St.
Luke’s Medical Group is unopposed to the filing on this motion. Counsel for Credit System
International, Inc. never responded to Plaintiff’s counsel’s emails.

                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 15, 2020, I electronically filed the foregoing with the Clerk
of the Court for the United States District Court for the Southern District of Texas, Houston
Division by using the CM/ECF system. I certify that all participants in the case are registered
CM/ECF users and that service will be accomplished by the CM/ECF system.


                                                      /s/ Nathan C. Volheim

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